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                                                     :: JAMES ~l]'EN, Clerk
     UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF AIE·~putyClerk

    INRE:                                                             )Case No:

    ATLANTIC RECORDS                                                  ~1:18-CV-5124
                   Defendant.
                                                                      )
    ERICA CHRISWELL                                                   )
                Plaintiff,                                            )Judge:
                                                                      )
                         v.                                           )
                                                                      )
    ATLANTIC RECORDS                                                  )
                                                                      )
                    Defendant,                                        )


                                        COMPLAINT



       1. On or around January l, 1997, Erica Chriswell was doing business as recording
          artist Erica Kane, Eryka Kane, and Ms. Kane. She wrote and performed on a song
          and video that was released on Atlantic Records on June 24, 1997. The song was
          entitled "Get It Wet", it was featured on the third studio album of the rap artist
          known as "Twista" and was Twista' s first song to chart on the Billboard Hot I 00,
          peaking at 96. She toured performing the song from 1997-1999.

       2. Atlantic Records has never made any royalty payments to Erica Chriswell in
          violation of the copyright act. "Get It Wet" was marketed as a single and first
          went gold, enjoying over five-hundred thousand (500,000) records sold and to our
          knowledge the record has since gone platinum selling over one million copies
          (1,000,000 copies). The video was broadcasted on several different platforms
          receiving millions of views. The song and video are still being exploited today.

       3. For the longest time Chriswell could not get any answers with regard to why she
          has never received royalty payments. After recently locating a employee of the
          record company she again addressed her concerns about non-payment at which
          time the individual stated that she didn't receive royalty payments because she
          was considered a work for hire employee.

       4. Mrs. Chriswell is owed unpaid royalties. Erica Chriswell was not a "work for
          hire" employee. The Supreme Court ruled in Community for Creative Non-
          Violence v. Reid, 490 U.S. 730 1989, that in order for a person to fall under
          the work for hire doctrine, specific requirements must be met. Mrs. Chriswell


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        was not an employee of the company at any time. The work she created required
        significant artistic and writing skill on the part of Mrs. Chriswell. Mrs. Chriswell
        supplied her own tools to create her verse on the work. Mrs. Chriswell wrote the
        work at her own studio. Apart from completion deadlines, Atlantic Records did
        not control when or how long the artist worked. Mrs. Chriswell was never paid an
        hourly wage. Atlantic Records had no role in hiring and paying artist's assistants.
        Atlantic Records did not provide employee benefits to the artist (e.g., health
        insurance), or contribute to unemployment insurance or worker's compensation
        funds and Atlantic Records did not treat the artist as an employee for tax
        purposes.


     5. It is egregious for a writer and performer to create a work and not be compensated
        for millions of copies sold, millions of views watched, millions of radio spins
        played. The decision of Atlantic Records and its business partners not to pay Mrs.
        Chriswell has affected her in many ways. Non-payment derailed her career as a
        musician. She suffered on the streets at some periods homeless while record
        company employees received more money from her work than she did. She
        suffered embarrassment in being recognized on the street as the performer of a hit
        song but unable to live the life that her talent provided to her.

     6. Mrs. Chriswell is suing for all mechanical, statutory and other royalty she is due
        for her unique writing contribution on the work "Get it Wet", for her visual
        performance which was exploited on the "Get it Wet" video, for radio-play and
        any other performances to which payment shoajd have been attached in the
        amount of kA£1f,"" ,_,..M,,,~~Y"-i[1J"4o1 oio ·~) and in addition, Ms.
        Chriswell asks this court to render any other remedy deemed fair.

                    Respectfully Submitted,




                    Signed in Dekalb County, Georgia on October 23th 2018
                    Erica M. Chriswell
                    /18/14 Walnut Path
                    Atlanta, GA. /100/18
                    6/10667488/J




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